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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

AGIS SOFTWARE DEVELOPMENT LLC,                     §
                                                   §
                                                   §
                Plaintiff,                         §
                                                   §    CIVIL ACTION NO. 2:19-CV-00359-JRG
v.                                                 §
                                                   §
WAZE
  . MOBILE LIMITED,                                §
                                                   §
                Defendant.                         §


                                               ORDER
       In accordance with the Order issued by the United States Court of Appeals for the Federal

Circuit (No. 2022-140), the Court hereby TRANSFERS the above-captioned case to the United

States District Court for the Northern District of California.

       So ORDERED and SIGNED this 23rd day of August, 2022.




                                                           ____________________________________
                                                           RODNEY GILSTRAP
                                                           UNITED STATES DISTRICT JUDGE
